          Case 3:10-cr-00111-LRH-WGC                Document 20         Filed 10/20/10         Page 1 of 1

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       ev.01/09)OrderSchedulingaDetentionHeari
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                                                  DistrictofNevada              CLERKUS DISTRICTCOURT
                                                                                   DISTRICTOFNEVADA
                                                                        BY:                                 DEPUW
               United StatesofA m erica
                          v.                                    CaseN o. 3;10-CR-011I-LRH-I
                                                                                          RAM
              JOSFPH DEAN FO RCIER



                                 ORDER SCHEDULING A DETENTION HEARING


        A detention hearing inthiscaseisscheduled asfollows:

Place: unt
         ted States DistrictCourt                               Courtroom N o.: Two
       400 S.VirginiaSt.
       Reno,NV 89501                                            oateand Tim e: 10/27/10 3:00 pm


       IT IS ORDERED: Pending thehearing,thedefendantisto bedetainedin thecustody oftheUnited States
marshaloranyotherauthorized officer. Thecustodian mustbringthedefendanttothe hearing atthetime, date,and
placesetfol'
           thabove.




Date:        10/20/2010
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                                                                   Robed A.Mcouai
                                                                                d,Jr.,U.S.Magi
                                                                                             strateJudge
                                                                                 Printed nameand title
